      Case 19-20347-rlj11                  Doc 1          Filed 11/04/19 Entered 11/04/19 16:55:53                                 Desc Main
                                                          Document Page 1 of 11

 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 NORTHERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       11                                        amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     Krisu Hospitality, LLC

2.   All other names debtor used
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           4      6      –      2      9        2    7         4   4     8

4.   Debtor's address                  Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       500 W. Harvester
                                       Number         Street                                           Number     Street


                                                                                                       P.O. Box



                                       Pampa                               TX       79065
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Gray                                                            from principal place of business
                                       County



                                                                                                       Number     Street




                                                                                                       City                          State   ZIP Code

5.   Debtor's website (URL)

6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
       Case 19-20347-rlj11             Doc 1        Filed 11/04/19 Entered 11/04/19 16:55:53                                  Desc Main
                                                    Document Page 2 of 11

Debtor Krisu Hospitality, LLC                                                           Case number (if known)

7.   Describe debtor's business       A. Check one:

                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above


                                      B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in
                                           15 U.S.C. § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                      C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes




8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?                        Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                           Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                           insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                           4/01/22 and every 3 years after that).

                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet,
                                                             statement of operations, cash-flow statement, and federal income tax return or if
                                                             all of these documents do not exist, follow the procedure in
                                                             11 U.S.C. § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                             Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                             form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                             Rule 12b-2.

                                           Chapter 12

9.   Were prior bankruptcy                 No
     cases filed by or against
     the debtor within the last 8          Yes. District                                        When                      Case number
     years?                                                                                              MM / DD / YYYY

                                                District                                        When                      Case number
     If more than 2 cases, attach a
                                                                                                         MM / DD / YYYY
     separate list.
                                                District                                        When                      Case number
                                                                                                         MM / DD / YYYY



Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 2
      Case 19-20347-rlj11              Doc 1        Filed 11/04/19 Entered 11/04/19 16:55:53                                    Desc Main
                                                    Document Page 3 of 11

Debtor Krisu Hospitality, LLC                                                            Case number (if known)

10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                  District                                                    When
    List all cases. If more than 1,                                                                                          MM / DD / YYYY
    attach a separate list.                       Case number, if known


                                                  Debtor                                                      Relationship

                                                  District                                                    When
                                                                                                                             MM / DD / YYYY
                                                  Case number, if known


11. Why is the case filed in          Check all that apply:
    this district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                           days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                           any other district.

                                           A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                           district.


12. Does the debtor own or                 No
    have possession of any                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal                   needed.
    property that needs
                                                Why does the property need immediate attention?                 (Check all that apply.)
    immediate attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                     safety.
                                                     What is the hazard?

                                                     It needs to be physically secured or protected from the weather.

                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                     related assets or other options).

                                                     Other


                                                Where is the property?
                                                                              Number      Street




                                                                              City                                      State        ZIP Code

                                                Is the property insured?

                                                     No
                                                     Yes. Insurance agency

                                                              Contact name

                                                              Phone


              Statistical and adminstrative information
13. Debtor's estimation of            Check one:
    available funds                       Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                          creditors.



Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 3
      Case 19-20347-rlj11                Doc 1        Filed 11/04/19 Entered 11/04/19 16:55:53                                      Desc Main
                                                      Document Page 4 of 11

Debtor Krisu Hospitality, LLC                                                            Case number (if known)

14. Estimated number of                     1-49                               1,000-5,000                               25,001-50,000
    creditors                               50-99                              5,001-10,000                              50,001-100,000
                                            100-199                            10,001-25,000                             More than 100,000
                                            200-999

15. Estimated assets                        $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

16. Estimated liabilities                   $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 11/04/2019
                                                      MM / DD / YYYY

                                          X /s/
                                              Signature of authorized representative of debtor      Printed name

                                          Title

18. Signature of attorney                X /s/ Patrick A. Swindell                                                Date     11/04/2019
                                            Signature of attorney for debtor                                              MM / DD / YYYY

                                            Patrick A. Swindell
                                            Printed name
                                            Swindell Law Firm
                                            Firm name
                                            106 SW 7th
                                            Number          Street



                                            Amarillo                                                   TX                   79101
                                            City                                                       State                ZIP Code


                                            (806) 374-7979
                                            Contact phone                                              Email address
                                            19587450
                                            Bar number                                                 State




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
      Case 19-20347-rlj11              Doc 1        Filed 11/04/19 Entered 11/04/19 16:55:53                          Desc Main
                                                    Document Page 5 of 11

 Fill in this information to identify the case:
 Debtor name        Krisu Hospitality, LLC

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number                                                                                                               Check if this is an
 (if known)                                                                                                                amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
Claims and Are Not Insiders                                                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claims resulting from inadequate collateral value places the
creditor among the holders of the 20 largest unsecured claims.


 Name of creditor and           Name, telephone        Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing               number, and email      (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip         address of             debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                           creditor               professional          unliquidated,   secured, fill in total claim amount and
                                contact                services, and         or disputed     deduction for value of collateral or setoff to
                                                       government                            calculate unsecured claim.
                                                       contracts)
                                                                                             Total           Deduction       Unsecured
                                                                                             claim, if       for value       claim
                                                                                             partially       of
                                                                                             secured         collateral
                                                                                                             or setoff
1   Peekay Refi                                        Business Debt                                                            $800,000.00
    1701 Dumas Ave
    Dumas, TX 79029




2   Bhiren Patel                                       Loan                                                                     $270,000.00
    5 West Way Carshalt




3   Praful Bhakta                                      Loan                                                                     $150,000.00
    2100 N Kansa Ave
    Liberal, KS 67901




4   Navin Bhakta                                       Loan                                                                     $150,000.00
    1620 S Dumas Ave
    Dumas, TX 79029




5   Milan Patel                                        Loan                                                                     $100,000.00
    25 Prestwick Ln
    Amarillo, TX 79124




Official Form 204       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                     page 1
         Case 19-20347-rlj11          Doc 1       Filed 11/04/19 Entered 11/04/19 16:55:53                         Desc Main
                                                  Document Page 6 of 11

Debtor       Krisu Hospitality, LLC                                             Case number (if known)
             Name


 Name of creditor and         Name, telephone       Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing             number, and email     (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip       address of            debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                         creditor              professional          unliquidated,   secured, fill in total claim amount and
                              contact               services, and         or disputed     deduction for value of collateral or setoff to
                                                    government                            calculate unsecured claim.
                                                    contracts)
                                                                                          Total           Deduction       Unsecured
                                                                                          claim, if       for value       claim
                                                                                          partially       of
                                                                                          secured         collateral
                                                                                                          or setoff
6   Dinesh Patel                                    Loan                                                                     $100,000.00
    2 Cyprus Pt
    Amarillo, TX 79124




7   BW Chase Visa                                   Credit Card                                                              $100,000.00
    P.O. Box 15298
    Wilmington, DE 19850




8   New York Life Insurance                         Business Debt                                                              $79,000.00
    6734 N Longmeadow
    Lincolnwood, IL 60712




9   Peekay Hospitality                              Business Debt                                                              $78,704.01
    1701 S Dumas ave
    Dumas, TX 79029




10 Wyndham Hotels                                   Business Debt                                                              $67,502.99
   22 Sylvan Way
   Parsippany NJ




11 Raju Patel                                       Loan                                                                       $50,000.00
   5174 Brian Ln
   Encino, CA 91436




12 LQ Chase Visa                                    Credit Card                                                                $50,000.00
   P.O. Box 15298
   Wilmington, DE 19850




13 Kamlesh Patel                                    Loan                                                                       $40,000.00
   537-1 West River Rd
   Palatka, FL 32177




Official Form 204     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    page 2
         Case 19-20347-rlj11          Doc 1       Filed 11/04/19 Entered 11/04/19 16:55:53                         Desc Main
                                                  Document Page 7 of 11

Debtor       Krisu Hospitality, LLC                                             Case number (if known)
             Name


 Name of creditor and         Name, telephone       Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing             number, and email     (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip       address of            debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                         creditor              professional          unliquidated,   secured, fill in total claim amount and
                              contact               services, and         or disputed     deduction for value of collateral or setoff to
                                                    government                            calculate unsecured claim.
                                                    contracts)
                                                                                          Total           Deduction       Unsecured
                                                                                          claim, if       for value       claim
                                                                                          partially       of
                                                                                          secured         collateral
                                                                                                          or setoff
14 City of Pampa                                    Property Taxes                                                             $29,871.00
   200 W Foster
   Pampa, TX 79065




15 Punkaj Patel                                     Loan                                                                       $25,000.00
   246 Marion Ave
   Summerville, SC 29483




16 Govind Kaka Patel                                Loan                                                                       $25,000.00
   1216 48th St
   Lubbock, TX 79412




17 Texas Comptroller of                             Business Debt                                                               $4,482.84
   Publlic Accounts
   P.O. Box 13528
   Austin, TX 78711



18 Farmers Insurance                                Business Debt                                                               $4,408.82
   P.O. Box 2847
   Grand Rapids, MI 49501




19 Oracle elevator                                  Business Debt                                                               $3,412.32
   600 S Tyler St Ste 13
   Amarillo, TX 79101




20 HD Supply                                        Business Debt                                                               $2,973.25
   P.O. Box 509058
   San Diego, CA 92150




Official Form 204     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    page 3
Case 19-20347-rlj11   Doc 1   Filed 11/04/19 Entered 11/04/19 16:55:53   Desc Main
                              Document Page 8 of 11


                          Bhiren Patel
                          5 West Way Carshalt




                          Brianna Cooper
                          8004 Abbevile Ave
                          Lubbock, TX 79424



                          BW Chase Visa
                          P.O. Box 15298
                          Wilmington, DE 19850



                          Centennial Bank
                          7207 82nd st
                          Lubbock, TX 79424



                          City of Pampa
                          200 W Foster
                          Pampa, TX 79065



                          Dinesh Patel
                          2 Cyprus Pt
                          Amarillo, TX 79124



                          Direct Tv
                          P.O. Box 410347
                          Charlotte, NC 28241



                          Expedia
                          333 108th Ave NE
                          Bellevue, WA 98004



                          Farmers Insurance
                          P.O. Box 2847
                          Grand Rapids, MI 49501
Case 19-20347-rlj11   Doc 1   Filed 11/04/19 Entered 11/04/19 16:55:53   Desc Main
                              Document Page 9 of 11


                          Govind Kaka Patel
                          1216 48th St
                          Lubbock, TX 79412



                          Gray County
                          P.O. Box 836
                          Pampa, TX 79066



                          HD Supply
                          P.O. Box 509058
                          San Diego, CA 92150



                          Kamlesh Patel
                          537-1 West River Rd
                          Palatka, FL 32177



                          Look Outdoor
                          700 N Florida St
                          Borger, TX 79007



                          LQ Chase Visa
                          P.O. Box 15298
                          Wilmington, DE 19850



                          Milan Patel
                          25 Prestwick Ln
                          Amarillo, TX 79124



                          Navin Bhakta
                          1620 S Dumas Ave
                          Dumas, TX 79029



                          New York Life Insurance
                          6734 N Longmeadow
                          Lincolnwood, IL 60712
Case 19-20347-rlj11   Doc 1    Filed 11/04/19 Entered 11/04/19 16:55:53   Desc Main
                              Document Page 10 of 11


                          Oracle elevator
                          600 S Tyler St Ste 13
                          Amarillo, TX 79101



                          Peekay Hospitality
                          1701 S Dumas ave
                          Dumas, TX 79029



                          Peekay Refi
                          1701 Dumas Ave
                          Dumas, TX 79029



                          Popp Hutcheson
                          1301 S Mopac
                          Austin, TX 78746



                          Praful Bhakta
                          2100 N Kansa Ave
                          Liberal, KS 67901



                          Punkaj Patel
                          246 Marion Ave
                          Summerville, SC 29483



                          Raju Patel
                          5174 Brian Ln
                          Encino, CA 91436



                          Rudd F Owen
                          P.O. Box 328
                          Plainview, TX 79073



                          Sams
                          2201 Ross Osage Dr
                          Amarillo, TX 79103
Case 19-20347-rlj11   Doc 1    Filed 11/04/19 Entered 11/04/19 16:55:53   Desc Main
                              Document Page 11 of 11


                          Sparklight Business
                          1059 Coronado Cir
                          BORGER, TX 79007



                          Texas Comptroller of Publlic Accounts
                          P.O. Box 13528
                          Austin, TX 78711



                          Texas Panhandle Regional Development Cor
                          801 Filmore Suite 205
                          Amarillo, TX 79101



                          Tim Newsom
                          1001 S Harrison St
                          Amarillo, TX 79101



                          United Supermarket
                          P.O. Box 15585
                          Canyon, TX 79015



                          US Small Business Administration
                          1205 Texas Ave Rm 408
                          Lubbock, TX 79401



                          Velocity
                          7130 Spring Meadow
                          Holland, OH 43528



                          Wyndham Hotels
                          22 Sylvan Way
                          Parsippany NJ



                          Xcel Energy
                          P.O. Box 1443
                          Minneapolis, MN 55483
